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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                      Criminal ACTION
                                     Plaintiff
USA
        v.

HALLINAN                                               No.16-CR-130
                                     Defendant

                     NOTICE OF FILING OF OFFICIAL TRANSCRIPT

     Notice is hereby given that an official transcript of a proceeding held on July 6, 2018 has been
filed by the Office of the Clerk of Court in the above-captioned matter. The parties have seven (7)
business days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
such Notice is filed, the transcript may be made remotely electronically available to the public
without redaction after ninety (90) calendar days.

    Unless otherwise ordered by the court, the attorney must review the following portions of the
transcript:

    $           opening and closing statements made on the party's behalf;
    $           statements of the party;
    $           the testimony of any witnesses called by the party;
    $           sentencing proceedings; and
    $           any other portion of the transcript as ordered by the court.

    Any party needing a copy of the transcript to review for redaction purposes may purchase a
copy through the Office of the Clerk of Court or view the document at the Clerk's Office public
terminal.


                                                                 Eileen J. Bobb
                                                                Deputy Clerk

Date: July 16, 2018

                                       Certificate of Service

   I hereby certify that on July 16, 2018 , I served the forgoing notice upon the parties in this
matter via e-mail and/or via first-class mail as indicated in the attached Notice of Electronic filing.



                                                                 Eileen J. Bobb
                                                                Deputy Clerk
